                                                                              Case 2:24-cv-07009-CBM-MAA           Document 24           Filed 02/21/25   Page 1 of 5 Page ID
                                                                                                                        #:181



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                                                                              12
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                                                                              13 VPR Brands, LP
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                                                                              14
                                                                                                            UNITED STATES DISTRICT COURT
                                                                              15
                                                                                                          CENTRAL DISTRICT OF CALIFORNIA
                                                                              16
                                                                              17                                      WESTERN DIVISION
                                                                              18   VPR BRANDS, LP,                                   CASE NO.: 2:24-cv-07009-CBM-MAA
                                                                              19
                                                                                                         Plaintiff,                  PLAINTIFF’S ANSWER TO
                                                                              20                                                     DEFENDANT’S COUNTERCLAIMS
                                                                              21   v.
                                                                              22
                                                                                   FLUMGIO TECHNOLOGY INC,
                                                                              23
                                                                              24                         Defendant.
                                                                              25
                                                                              26          Plaintiff VPR BRANDS, LP (“VPR”), by and through its undersigned counsel,
                                                                              27 hereby Answers the Counterclaims filed by Defendant FLUMGIO TECHNOLOGY
                                                                              28 INC (“Flumgio”) [DE 22] as follows:



                                                                                                                                     1
                                                                                   PLAINTIFF’S ANSWER TO DEFENDANT’S COUNTERCLAIMS                             CASE NO.: 2:24-CV-07009
                                                                              Case 2:24-cv-07009-CBM-MAA           Document 24           Filed 02/21/25   Page 2 of 5 Page ID
                                                                                                                        #:182



                                                                               1          1.     No answer required
                                                                               2
                                                                                                                           THE PARTIES
                                                                               3
                                                                                          2.     Admit.
                                                                               4
                                                                               5          3.     Admit.
                                                                               6
                                                                                                                 JURISDICTION AND VENUE
                                                                               7
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                                                                                          4.     Admitted that there is a justiciable controversy between VPR Brands, LP
                                                                               8
                                                                               9 and Flumgio with respect to the ‘622 Patent. Denied as to the remaining allegations
                                                                              10 within this paragraph. To the extent that any such allegations are not legal conclusion,
                                                                              11
                                                                                 VPR denies the same.
                                                                              12
                                                                              13          5.     Admit.
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                                                                              14
                                                                                          6.     Admit.
                                                                              15
                                                                              16          7.     Admit.
                                                                              17                                  FACTUAL BACKGROUND
                                                                              18
                                                                                          8.     Admit that the ’622 Patent is entitled “Electronic Cigarette” and that it
                                                                              19
                                                                              20 describes in the abstract of the patent that it is “an electronic cigarette having two
                                                                              21 tubes that resemble a cigarette: an electronic inhaler and an electronic atomizer.”
                                                                              22
                                                                                 Admit that the ’622 Patent was issued on June 26, 2012. Denied as to any remaining
                                                                              23
                                                                              24 allegations in this paragraph.
                                                                              25
                                                                                          9.     Admit.
                                                                              26
                                                                              27          10.     Admit.
                                                                              28          11.     Denied.


                                                                                                                                     2
                                                                                   PLAINTIFF’S ANSWER TO DEFENDANT’S COUNTERCLAIMS                             CASE NO.: 2:24-CV-07009
                                                                              Case 2:24-cv-07009-CBM-MAA           Document 24           Filed 02/21/25   Page 3 of 5 Page ID
                                                                                                                        #:183



                                                                               1          12.     Denied.
                                                                               2
                                                                                          13.     Admit that Claims 1, 12, 13, 16 and 17 are the only independent claims
                                                                               3
                                                                               4 of the ’622 Patent. Denied as to the remaining allegations within this paragraph.
                                                                               5          14.     Admit.
                                                                               6
                                                                                          15.     Denied.
                                                                               7
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                                                                               8          16.     Denied.
                                                                               9
                                                                                          17.     Denied.
                                                                              10
                                                                              11          18.     Admit.
                                                                              12
                                                                                          19.     Admit.
                                                                              13
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                                                                              14          20.     Admit.

                                                                              15          21.     Denied.
                                                                              16
                                                                                          22.     Admit.
                                                                              17
                                                                              18          23.     Denied.
                                                                              19
                                                                                          24.     Admit.
                                                                              20
                                                                              21          25.     Denied.
                                                                              22          26.     Denied.
                                                                              23
                                                                                          27.     Denied.
                                                                              24
                                                                              25          28.     Admitted that the specific negative airflow sensors disclosed in the prior
                                                                              26
                                                                                   art references cited in Patent Office proceedings are not within the scope of the
                                                                              27
                                                                              28 “electric air flow sensor” of Claim 13.



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                                                                                   PLAINTIFF’S ANSWER TO DEFENDANT’S COUNTERCLAIMS                             CASE NO.: 2:24-CV-07009
                                                                              Case 2:24-cv-07009-CBM-MAA           Document 24           Filed 02/21/25   Page 4 of 5 Page ID
                                                                                                                        #:184



                                                                               1          29.     Denied.
                                                                               2
                                                                                          30.     Denied.
                                                                               3
                                                                               4     COUNT I: DECLARATORY JUDGMENT OF NON-INFRINGEMENT OF
                                                                               5                                   U.S. PATENT NO. 8,205,622
                                                                               6          31.     Plaintiff repeats and realleges its Responses to paragraphs 1 through 30
                                                                               7
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                                                                                   hereof, as if fully set forth herein.
                                                                               8
                                                                               9          32.     Denied.
                                                                              10          33.    Denied.
                                                                              11
                                                                                          34.    Admitted that there is a justiciable controversy between VPR and
                                                                              12
                                                                              13 Flumgio with respect to the ‘622 Patent. Denied as to the remaining allegations within
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                                                                              14
                                                                                   this paragraph. To the extent that any such allegations are not legal conclusion, VPR
                                                                              15
                                                                              16 denies the same.
                                                                              17                                     PRAYER FOR RELIEF
                                                                              18
                                                                                          35.    To the extent that an answer is required to Flumgio Technology Inc’s
                                                                              19
                                                                              20 Prayer for Relief, VPR Brands LP denies all allegations contained in same.
                                                                              21                                  AFFIRMATIVE DEFENSES
                                                                              22          FIRST AFFIRMATIVE DEFENSE: FAILURE TO STATE A CLAIM
                                                                              23
                                                                                          For VPR’s first affirmative defense, it alleges that the Counterclaim-Plaintiff
                                                                              24
                                                                              25 Flumgio fails to state a claim upon which relief may be granted. Among other reasons,
                                                                              26
                                                                                   as to Flumgio’s Counterclaim for declaratory judgment of non-infringement of the
                                                                              27
                                                                              28 ’622 Patent, Flumgio fails to allege facts sufficient to state a plausible claim that the



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                                                                                   PLAINTIFF’S ANSWER TO DEFENDANT’S COUNTERCLAIMS                             CASE NO.: 2:24-CV-07009
                                                                              Case 2:24-cv-07009-CBM-MAA           Document 24           Filed 02/21/25   Page 5 of 5 Page ID
                                                                                                                        #:185



                                                                               1 Accused Product do not practice each element of the asserted Claims of the ’622
                                                                               2
                                                                                   Patent.
                                                                               3
                                                                               4                         RESERVATION OF AFFIRMATIVE DEFENSES
                                                                               5          VPR hereby gives notice that it intends to rely upon such other and further
                                                                               6
                                                                                   affirmative defenses as may become apparent during discovery in this action and
                                                                               7
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                                                                               8 hereby reserves its right to amend its Answer to the Counterclaim to assert such
                                                                               9
                                                                                 defenses.
                                                                              10
                                                                              11
                                                                              12
                                                                              13 DATED: February 21, 2025                      Respectfully submitted,
SRIPLAW




                                                                              14
                                                                              15                                               /s/ Matthew L. Rollin
                                                                              16                                               MATTHEW L. ROLLIN
                                                                                                                               LAYLA T. NGUYEN
                                                                              17                                               SRIPLAW, P.A.
                                                                              18                                               Counsel for Plaintiff VPR Brands, LP
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                                                                                   PLAINTIFF’S ANSWER TO DEFENDANT’S COUNTERCLAIMS                             CASE NO.: 2:24-CV-07009
